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                       IN THE UNITED STATESD ISTRICT C OURT                        ..    ATW NCHnURG VA ,.,...   '

                      F oR THE W ESTERN D ISTRICT OF V IRGINIA                             '. gu o I '
                                      LYNCHBURG D IVISION                                2EC 15 2211
                                                                                  J(?L . , sou
                                                                                BY;
                                                   CASEN O. 6:05-cr-00015-2       *.x.     El
   UNITED STATESOFA MERICA,                                                                .>. .
                                                                                         ...       .   .
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                                                                                                           '
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                                                   M EM ORAN D UM OPIN ION


   TERENCE DEVON SCOTT,                            JUDGE NORM AN K .M OON
                                   Defendant.


         Once again, this matter com es before the Court, this tim e on a pro se m otion for

  reconsideration (docketno.l62)filedbyTerenceDevon Scott(Crefendanf')inwhich heasks
  the Courtto reconsider its order denying,for the second tim e,his m otion to reduce sentence

  pursuantto theFairSentencing Actof2010,Pub.L.No.111-220,124 Stat.2372 (2010),and
  Am endm ent750 ofthe United States Sentencing Guidelines.

         l begin with a brief synopsis of the relevantprocedural background. On February 26,

  2008,lentered judgmentin Defendant'scase and imposed a term of imprisonmentof l80
  months(docketno.l18). Thisterm ofincarceration consisted of 120 monthson CountTwo
  (distributionofcocainebase(Eçcrack'')inviolationof21U.S.C.j841)and 60monthsonCount
  Three(possession ofafirearm infurtheranceofadrugtraffickingcrimeinviolationof18U.S.C.
  j924(c)),to beserved consecutively.Defendant'sl20month sentenceon thecrackconviction
  represented the statutory m inim um forhis offense atthe tim e ofhis conviction. See 21U.S.
                                                                                            C.j
  84l(b)(1)(A)(2006). Defendantoriginally Gled amotiontoreducesentenceon September27,
  2011 (docket no. 157). On October 17, 2011, l denied that m otion (docket no. 159).
  Subsequently,D efendantfiled substantially the sam e m otion to reduce sentence on N ovem ber7,
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 2011 (docketno.160). lconstrued thatm otion as a m otion to reconsiderthe previousorder
  denying his requestfor a sentence reduction. On Novem ber 17,201l,1 denied thatm otion as

 well(docketno.161). In filing the m otion for reconsideration presently before the Court,
  D efendanteffectively seeksthe sentence reduction lhave tw ice denied him .

         ln his m otion,Defendant subm its that he is entitled to have his sentence on the crack

  offense reduced to a 60 m onth m inim um , as opposed to 120 m onth m inim um , because

  Am endm ent750 w as m ade retroactive. 1 M oreover,he assertsthatIam obligated to do so. First,

  1notethatunder18U.S.C.j3582(c)(2),acourtmaymodifyadefendant'sterm ofimprisonment
  if it w as tdbased on a sentencing guideline range that has subsequently been lowered by the

  Sentencing Com m ission.'' Therefore,it isw ithin m y discretion to grantan eligible defendant's

  motion fora sentence reduction,butby no m eans an obligation. Second,and m ore im portantly,

  Defendantis noteligible forsuch a reduction. A s a result,lam w ithoutauthority to reduce his

  sentence.

          O nce l applied the m andatory m inim um to Defendant at his sentencing,his othenvise

  applicable guideline range w asdisplaced,and hissentence w asno longerItbased on a sentencing

  range that has subsequently been lowered by the Sentencing Commission.'' 18 U.S.C.j
  3582(c)(2).A sentencereductionisnotauthorizedunderj3582(c)(2)andisnotconsistentwith
  the policy statementlaid outin j IB1.l0 ofthe Sentencing Guidelinesifan amendment,like
  A m endm ent 750,(ddoes not have the effect of lowering the defendant's applicable guideline

  range because ofthe operation ofanotherguideline or statutory provision (e.z,a statutory


   1Although 21U .S.C.j841(b)(1)(A)- thestatutethatprescribedDefendant's120 month mandatory minimum
  sentencein 2008- hassincebeen amended by theFairSentencing Act,those statutory am endm ents,asopposed to
  Amendm ent750 to the Sentencing Guidelines,did nothaveretroactive effect. Consequently,the FairSentencing
  ActdoesnotapplytooffenderslikeDefendantwhoweresentenced beforetheAct'seffectivedate.Defendant's
   120m onthsentenceisthecorrectm andatory minim um,and,asappliedtohim ,thatminimum rem ainsunalteredin
  the wake ofthe FairSentencing Actand Amendm ent750.
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  mandatoryminimum term ofimprisonmentl.''U.S.S.G.j IBl.l0ApplicationNote1.(A)(Nov.
  20l1). W hen,ashere,a defendantwasnotsentenced below the mandatory m inimum via the
  (tsafetyvalve,''U.S.S.G.j5C1.2,oradepartureforsubstantialassistance,18U.S.C.j3553/);
  Fed.R.Crim.P.35(b);U.S.S.G.j5K1.l thatstatutoryminimum servesasatloor,precluding
  a court from reducing the defendant's sentence irrespective of a guideline am endm ent's

  otherwise retroactive applicability. Therefore, D efendant rem ains ineligible for a sentence

  reductionunderj3582(c)(2).
        Forthe reasonsstated herein,Defendant'smotion forreconsideration (docketno.162)
  shallbedenied.

        The Clerk ofthe Courtishereby directed to send a certified copy of this M em orandum

  Opinion and the accom panying O rderto the Defendantand al1counselofrecord.



        Enteredthis1        ayofDecember,2011.

                                                       NO AN K .M O
                                                       UNITED STATES DISTRICT JU DOE
